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Attorneys for Plaintiff` Leadership Studies, Inc.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

LEADERSHIP STUDIES, INC., a
California corporation,

Plaintiff,
v.

READYTOMANAGE, INC., a
Calif`ornia co oration, WORLDWIDE
CENTER FO ORGANIZATIONAL
DEVELOPM_ENT LLC, a Calif`omia
Limited Llablllt Company, TEAM
PUBLICATIO S, a com|g)an of
unknown entity form, PR F LES-R-
US.CQM, Pty. Ltd., an Australlan
&r]cxmetacl'{ llm!tec§ c_ompany, JON

RNE , gm lnd;vldual, and DOES l
through 10, mcluslve,

Defendant.

 

 

CASE NO. 2:15-cv-9459
COMPLAINT FOR:

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TRADEMARK INFRINGEMENT
UNDER THE LANHAM ACT, 15
U.S.C.A. 1125:

COPYRI HT INFRINGEMENT;
UNFAIR COMPETITION;
INJUNCTIVE RELIEF; and
DECLARATORY RELIEF

DEMAND FOR JURY TRIAL

 

 

 

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COMES NOW PLAINTIFF, Leadership Studies, Inc., and for its causes of
action alleges as follows:

INTRODUCTION

l. Defendants ReadyToManage, Inc. (“ReadyToManage”), Worldwide
Center for Organizational Development, LLC (“WCOD”), Team Publications, and
Proflles-R-Us.com, Pty. Ltd. (“Proflles-R-Us”) have engaged in a continuous
pattern of creating, marketing, and selling materials that blatantly infringe on both
the trademarks and copyrights of plaintiff Leadership Studies, Inc. (“Leadership
Studies”).

2. Many of these materials are ostensibly authored by Defendant .lon
Warner (“Wamer”) and/or WCOD, and WCOD purports to claim copyrights in
them.

3. There is no doubt that these infringements are intentional because
Wamer, ReadyToManage’s founder and Chairman of the Board, is also the Chief
Executive Offlcer of WCOD, which previously has been required by Leadership
Studies to cease and desist its marketing and sale of materials that infringe upon
Leadership Studies’ trademarks and copyrights.

4. Furthermore, Leadership Studies has demanded that ReadyToManage
cease and desist its marketing and sales of materials that infringe on Leadership
Studies’ trademarks and copyrights. In response to these demands,
ReadyToManage has only (a) modified the URLs of some of its webpages and (b)
changed the titles of some of the materials, but continues to market and sell the
identical infringing materials,

PARTIES

5. Plaintiff Leadership Studies, Inc. (“Leadership Studies” or “Plaintiff’)
is a corporation organized and existing under the laws of the State of Califomia and
doing business and having offices in Cary, North Carolina. Leadership Studies is

engaged in the business of, inter alia, teaching and promoting the “Situational

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Leadership® Model,” which enables managers, salespeople, peer leaders, teachers,
and parents to interface with and influence others more effectively. Leadership
Studies conducts workshops and certification processes with its customers, who use
its unique curriculum to guide the customers onto the path of becoming more
effective leaders. Leadership Studies also publishes various works over which it
maintains valid copyrights.

6. Defendant ReadyToManage, Inc. (“ReadyToManage”) is a corporation
organized and existing under the laws of the State of Califomia and doing business
and having offices in Los Angeles, Califomia.

7. Defendant Worldwide Center for Organizational Development, LLC
(“WCOD”) is a Califomia Limited Liability Company existing under the laws of the
State of Califomia, and doing business and having offices in Los Angeles,
Califomia.

8. Defendant Team Publications is a business entity of unknown form that
is identified on certain websites and an Australian division of WCOD, Team
Publications does business and has offices in Los Angeles, Califomia.

9. Defendant Profiles-R-Us.com, Pty. Ltd. (“Profiles-R-Us”) is an
Australian proprietary limited company that does business and has offices in Los
Angeles, Califomia.

10. ReadyToManage, WCOD, Team Publications, and Proflles-R-Us are
referred to herein collectively as the Company Defendants. All of the Company
Defendants are identified as having offices at the same location in Los Angeles,
Califomia.

l l. WCOD’s website identifies ReadyToManage and Team Publications as
“divisions” of WCOD,

12. ReadyToManage’s website states that “[t]he ReadyToManage
Webstore features products from their own brands including Prof\les-R-Us, Rapid

Skill Builders, 20-20 MDS Management Development Systems, Team Publications

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and ReadyToManage” and identifies WCOD as one of the brands carried.

13. The ReadyToManage website also states that “[t]he ReadyToManage
Webstore is a service of ReadyToManage, Inc., Worldwide Center for
Organizational Development, [and] Team Publications.”

14. The ReadyToManage website also identifies WCOD and Team
Publications two of` its “publishing partners.”

15. Jon Wamer (“Warner”) is an individual who Plaintiff is informed and
believes resides in the County of Los Angeles. He is identified as (a) an “Author
and Chief Editor” of ReadyToManage, (b) the Chairman of the Board of
ReadyToManage, and (c) the Executive Chairman and Chairman of the Board of
WCOD, His Linkedln profile also indicates that he was the CEO of Team
Publications Pty Ltd for several years.

16. Wamer is also identified as the purported author of many of the
materials identified herein that infringe upon Leadership Studies’ trademarks and
copyrights.

l7. Plaintiff is informed and believes that at all times mentioned herein
Wamer was acting as an agent, owner, employee, partner, director, and/or manager
of each of the Company Defendants, and that he had actual authority to act on their
behalf.

18. Plaintiff is informed and believes, and based thereon alleges, that at all
times herein mentioned, the Company Defendants, in doing the things complained
of herein, were acting within the course and scope of their business operations. All
acts and omissions alleged to have been done by the Company Defendants were
done by employees, owners, directors, or managers on behalf of the Company
Defendants either at their direction or within the scope of the individuals’ actual or
apparent authority on behalf of the Company Defendants.

19. Plaintiff is unaware of the true names and capacities, whether

individual, corporate, associate, or otherwise, of Defendants Does 1 through lO,

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inclusive, or any of them, and therefore sues these defendants, and each of them, by
such fictitious names. Plaintiff will seek leave to amend this Complaint when the
identities of these defendants are ascertained (The Company Defendants, Warner,
and Does 1-10 collectively “Defendants” or each “Defendant.”)

20. Plaintiff is informed and believes, and on that basis alleges, that each
Defendant conspired and acted in concert with each other to commit the wrongs
alleged herein, and in doing so were at all relevant times the agents, servants,
employees, principals, joint venturers, alter egos, and/or partners of each other.
Plaintiff is further informed and believes, and on that basis alleges, that in doing the
things alleged in this Complaint, each Defendant was acting within the scope of
authority conferred upon that Defendant by the consent, approval, and/or ratification
of other Defendants, whether said authority was actual or apparent.

21. Plaintiff is informed and believes, and on that basis alleges, that there
exists such unity of ownership and interest between Warner and the Company
Defendants such that the separate personalities of Company Defendants and Warner
do not truly exist such that the Company Defendants are Wamer’s alter ego.

22. Adherence to the fiction of the separate existence of the Company
Defendants as separate entities from Warner would permit the abuse of the corporate
privilege, and would sanction fraud and promote injustice.

23. Plaintiff is further informed and believes, and on that basis alleges, that
the Company Defendants, and each of them, have such a unity of interest and
operations that separate personalities of these companies no longer exist and if the
acts are treated of any particular entity alone, an inequitable result will follow.
Plaintiff is informed and believes that the Company Defendants operate not as
separate entities but rather as one, with the separate companies’ corporate, limited
liability, and other forms used to shield assets and other revenues. Accordingly,
Plaintiff is informed and believes that the Company Defendants are the alter egos of

each other, in that they all share some or all of the same ownership, management,

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and marketing.
JURISDICTION AND VENUE

24. This Court has original jurisdiction over this matter under 28 U.S.C.
Section 1331 because one of the claims asserted herein arises under F ederal law, the
Lanham Act, § 32(1)(a), 15 U.S.C.A. § lll4(l)(a)). This Court has supplemental
jurisdiction over the balance of Plaintiff’s claims under 28 U.S.C. § 1367 because
the other causes of action in the instant complaint are so related to claim over which
this Court has original jurisdiction that they form part of the same case or
controversy.

25. Venue is proper in this Court because the Company Defendants
maintain offices, and do business, in Los Angeles, Califomia, which lies within the
Central District of California. 28 U.S.C. §139l(b)(l). Plaintiffis also informed and
believes that Wamer resides within the Central District of Califomia,

GENERAL BACKGROUND AND LEADERSHIP STUDIES’
TRADEMARKS

26. The founder of Leadership Studies, Dr. Paul Hersey, developed a
theory concerning a methodology for training managers to lead subordinates based
on those subordinates’ personal characteristics and level of development He named
the model “Situational Leadership.”

27. Leadership Studies also has developed numerous ancillary programs
and products that draw and expand upon the original Situational Leadership theory
and model, and has registered the trademarks associated with them.

28. The Mark “Situational Leadership®” is the subject of a valid trademark
registration by Leadership Studies with the U.S. Patent and Trademark Office
(Registration No. 3,407,887) for educational kits for improving management skills
and employee productivity, primarily composed of training manua|s, video tapes,
pamphlets, and a board game used as an experience simulator, and for educational

services, namely, conducting seminars in the field of management skills. The

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Situational Leadership® Mark has been registered by Leadership Studies since April
8, 2008 and is incontestable.

29. The Mark “Situational Leadership®” also is the subject of a valid
trademark registration by Leadership Studies with the U.S. Patent and Trademark
Office (Registration No. 4,222,028) for audio and video recordings featuring
educational material in the field of leadership skills and employee productivity,
printed educational materials in the field of educational material in the field of
leadership skills and employee productivity, and educational services, namely,
conducting seminars, workshops and online courses in the field of leadership skills
and employee productivity, The Situational Leadership® Mark has been thus
registered by Leadership Studies since July 24, 2012.

30. In addition, Leadership Studies has registered a trademark consisting of
a square with four quadrants intersected by a bell curve (the “Quadrant Mark”). The
Quadrant Mark is the subject of a valid trademark registration by Leadership Studies
with the U.S. Patent and Trademark Office (Registration No. 3491804) for
educational kits composed of prerecorded DVDs featuring educational material in
the field of leadership skills and employee productivity, educational kits composed
of training manuals and pamphlets in the field of leadership skills and employee
productivity, and educational services, namely, conducting seminars in the field of
leadership skills. The Quadrant Mark has been registered by Leadership Studies
since June lO, 2008, and is incontestable.

31. A modified version of the Quadrant Mark also is the subject of a valid
trademark registration by Leadership Studies with the U.S. Patent and Trademark
Office (Registration No. 4217307) for audio and video recordings featuring
educational material in the field of leadership skills and employee productivity,
printed educational materials in the field of leadership skills and employee
productivity, and Educational services, namely, conducting seminars, workshops,

and online courses in the field of leadership skills. This version of the Quadrant

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Mark has thus been registered by Leadership Studies since October 2, 2012.

32. The Mark “Performance Readiness®” is the subject of a valid
trademark registration by Leadership Studies with the U.S. Patent and Trademark
Office (Registration No. 3,420,843) for educational publications, namely, training
manuals in the field of improving management skills and employee productivity,
The Performance Readiness® l\/Iark has been registered by Leadership Studies since
April 29, 2008 and is incontestable.

33. The Mark “Situational Coaching®” is the subject of a valid trademark
registration by Leadership Studies with the U.S. Patent and Trademark Office
(Registration No. 3,420,839) for educational kits for improving management skills
and employee productivity, primarily composed of training manuals, video tapes,
pamphlets, and a board game used as an experience simulator, and educational
services, namely, conducting seminars in the field of management skills. The
Situational Coaching® Mark has been registered by Leadership Studies since April
29, 2008 and is incontestable.

34. 'fhe Mark “Situational Selling®” is the subject of a valid trademark
registration by Leadership Studies with the U.S. Patent and Trademark Office
(Registration No. 1,442,468) for educational services, namely, conducting seminars
for increasing sales effectiveness The Situational Selling® Mark has been
registered by Leadership Studies since June 9, 1987 and is incontestable.

35. The Situational Leadership® Mark, Quadrant Mark, Performance
Readiness® Mark, Situational Coaching® Mark, and Situational Selling® Mark are
referred to herein collectively as the Marks.

36. The Marks have also gained a secondary meaning as referring to
products through which Leadership Studies provides training materials and

seminars. Leadership Studies markets and sells its products globally.
LEADERSHIP STUDIES’ COPYRIGHTS

37. In or about February 1977, Management Education & Development,

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Inc. (“MED”) created an original literary work entitled “Leadership Effectiveness
and Adaptability Description” (or “LEAD”) (Registration No. TXu 186-155).” On
or about August 7, 1987, MED assigned its copyright registration for LEAD to
Leadership Studies.

38. From the creation of the LEAD work in 1977 to the present, MED and
then Leadership Studies continuously complied with the copyright laws of the
United States.

39. The LEAD work is an unpublished work to which Defendant had
access, because Jon Warner, its Chairman of the Board, previously was affiliated
with an entity that was licensed to distribute Leadership Studies materials including
the LEAD work.

40. Leadership Studies remains the sole proprietor of all rights, title, and
interest in and to the LEAD work,

41. Leadership Studies is informed and believes, and thereupon alleges that
Defendants have been willfully infringing upon Leadership Studies copyrights in the
LEAD work, by publishing and distributing works, without a license, that copy
original elements of the LEAD work including, but not limited to, the 20-20 MDS
materials on leadership and several profiles and materials related to the evaluation of
those profiles.

42. On or about June 15, 1983, Center for Leadership Studies (“CLS”)
created an original literary work entitled “Meeting Effectiveness Inventory Self
Report” TX 1-241-297 and the “Meeting Effectiveness Inventory Other Report” TX
1-241-296 (collectively, the “MEI Reports”).” On or about June 4, 1987, CLS
assigned its copyright registration for MEI Reports to Leadership Studies.

43. F rom the creation of the MEI Reports in June 15, 1983 to the present,
CLS and then Leadership Studies continuously complied with the copyright laws of
the United States.

44. The MEI Reports are published works to which Defendant had access,

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because Jon Warner, its Chairman of the Board, previously was affiliated with an
entity that was licensed to distribute Leadership Studies materials including these
works.

45. Leadership Studies remains the sole proprietor of all rights, title, and
interest in and to the MEI Reports.

46. Gn or about Nov. 20, 1980, Leadership Studies Productions, lnc.
(“LSP”) created an original literary work entitled “Essentials of Situational
Leadership Leader’s Guide.” On or about June 6, 1987, LSP assigned its copyright
registration for the “Essentials of Situational Leadership Leader’s Guide” to
Leadership Studies. The copyright registration for this publication is TX 634-834.

47. On or about January 31, 1984, LSP created an original literary work
entitled “Essentials of Situational Leadership Leader’s Guide One,” On or about
June 4, 1987, LSP assigned its rights in this publication to Leadership Studies. The
copyright registration for this publication is TX 1-274-812.

48. The “Essentials of Situational Leadership Leader’s Guide.” “Essentials
of Situational Leadership Leader’s Guide One,” and materials included in related
copyrighted publications such as participant’s manuals, are referred to collectively
herein as “Situational Leadership Leader’s Guides.”

49. From the creation of the “Situational Leadership Leader’s Guides” to
the present, LSP and then Leadership Studies continuously complied with the
copyright laws of the United States.

50. Leadership Studies remains the sole proprietor of all rights, title, and
interest in and to the “Situational Leadership Leader’s Guides.”

51. “The Situational Leader,” is an original literary work written by Dr.
Hersey and that was copyrighted and registered with the United States Copyright
Office in 1984 by Dr. Hersey and the Center for Leadership Studies with copyright
registration number TXu 170-596.

52. “The Situational Leader” is a book that includes certain designs,

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figures, and diagrams that had not appeared previously in any published works.

53. From the creation of “The Situational Leader” until the present, Dr.
Hersey and Leadership Studies continuously have complied with the copyright laws
of the United States.

54. These designs, figures, and diagrams also were included in the original
literary work by Paul Hersey entitled “Situational Selling” that Dr. Hersey and the
Center for Leadership Studies registered with the United States Copyright Office in
1985 with copyright registration number TX 1 655 386 .

55. From the creation of “Situational Selling” until the present, Dr. Hersey
and Leadership Studies continuously have complied with the copyright laws of the
United States.

56. “Situational Selling” included original designs, figures, and diagrams in
addition to those that were included in the “The Situational Leader,” and that had
not appeared previously in any published works.

57. “Management of Organizational Behavior: Leading Human Resources”
(“MOB”) is a textbook that is authored by Dr. Hersey, Kenneth Blanchard, and
Dewey Johnson, and that is copyrighted by Pearson Education Inc. MOB contains,
with express permission from Leadership Studies, materials including designs,
figures, and diagrams that are copyrighted and trademarked by Leadership Studies.
These materials appear with attribution and bear Leadership Studies’ trademark and
copyright designations

58. “Situational Leadership®: The Core Leader’s Guide,” and “Situational
Leadership®: The Core Participant Workbook” (collectively, “The Core”) are
original literary works originally copyrighted and registered with the United States
Copyright Office in 1984, with later updated copyrights, by Center for Leadership
Studies, which later assigned the copyrights to Leadership Studies. They bear
copyright registration numbers TX 6-999-058 and TX 6-997-296, respective|y.

59. In addition, Leadership Studies is the copyright holder of various

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subsequent derivative and updated works related to “The Core.”

60. From the creation of the original “The Core” until the present, Center
for Leadership Studies and Leadership Studies continuously have complied with the
copyright laws of the United States.

61. The “Problem-Solving Decision-Making Style Inventory - Self” and
“Problem-Solving Decision-Making Ster Inventory - Other” (collectively
“Problem-Solving Decision-Making Style lnventories”) are original literary works
originally copyrighted and registered with the United States Copyright Office in
1987 by Center for Leadership Studies, which later assigned the copyrights to
Leadership Studies in or about September, 1933. They bear copyright registration
numbers TX l- 214-295 and TX 1-241-294, respectively.

62. In addition, Leadership Studies is the copyright holder of various
subsequent derivative and updated works related to the “Problem-Solving Decision-
Making Style Inventories.”

63. From the creation of the original “Problem-Solving Decision-Making
Style Inventories” until the present, Center for Leadership Studies and Leadership
Studies continuously have complied with the copyright laws of the United States.

64. Leadership Studies remains the sole proprietor of all rights, title, and
interest in and to the LEAD Work, the MEI Reports, the “Situational Leadership
Leader’s Guides,” “The Situational Leader,” “Situational Selling,” the materials
copyrighted by Situational Leadership in MOB, “The Core,” “Problem-Solving
Decision-Making Style Inventories,” and all later and derivative versions of these
works including, but not limited to, the original designs, figures, and diagrams
contained therein.

DEFENDANTS’ INFRINGEMENTS OF LEADERSHIP STUDIES’

INTELLECTUAL PROPERTY
65. ReadyToManage markets and sells online and downloadable “training

and development resources” on its website www.readvtomanage.com. The home

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l website provides:
2 At the ReadyToManage Webstore we offer a complete selection
3 of organizational and personal development tools for
companies, consultants, trainers, facilitators, and individuals to
4 help people reach their potential. We specialize in Management
5 and Leadership skills including topics such as Confiict
Resolution, Negotiating, Managing Meetings, Problem Solving,
6 Managing Risk, lnf1uencing, Interviewing, Giving Feedback
7 and more. Find eLeaming courses, diagnostic assessments,
development books, customizable training and course kits,
8 interview guides, selection tools and more. All our resources
9 are electronic, so there are never any shipping costs and
resources are electronically delivered within 24 hours.
10
ll Quoted from http://store.readvtomanage.com as of October 19, 2015.
12 66. Many materials available on the ReadyToManage website infringe
13 upon the Marks and/or include copyrighted materials owned by Leadership Studies.
14 67. Leadership Studies has not licensed or otherwise authorized
15 ReadyToManage to use its Marks in order to market their products.
16 68. Leadership Studies has not licensed or otherwise authorized
17 ReadyToManage to market or sell any products created by Leadership Studies.
18 69. Leadership Studies has not licensed or otherwise authorized
19 ReadyToManage to market or sell any products that include materials copyrighted
20 by Leadership Studies, or any derivatives of Leadership Studies’ copyrighted
21 materials.
22 70. On or about September 30, 2015, Leadership Studies sent a letter to Jon
23 Warner and ReadyToManage in which it demanded that ReadyToManage
24 immediately cease and desist from marketing and selling products that infringe upon
25 Leadership Studies’ trademarks and copyrights. This letter identified no less than
26 eighteen (18) URLs that market materials that infringe upon Leadership Studies’
27 intellectual property.
28 71. As of the date of this Complaint, ReadyToManage has failed and
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refused to remove the identified materials from its website.

72. Instead, in connection with some of the titles of the materials,
ReadyToManage has changed the phrase “Situational Leadership” to “Contextual
Leadership.”

73. Despite this Thesaurian change to the title of these materials,
Leadership Studies is informed and believes that the materials themselves have not
changed, and continue to violate both Leadership Studies’ trademarks and
copyrights.

74. As an example only, materials previously marketed as providing
“Situational Leadership” training and that were edited to provide “Contextual
Leadership” training are located at http://store.readvtomanage.com/Z(LZOMDS-
Contextual-Leadership-Workshop-Kit.aspx. However, other than this one-word
substitution, the descriptions remain unchanged and continue to refer to another
Leadership Studies trademark referenced above, “Performance Readiness” and the
scale that the trademark describes. Furthermore, Leadership Studies has obtained
copies of the actual materials being sold by ReadyToManage and they are
unchanged, and continue to infringe upon Leadership Studies’ trademarks and
copyrights.

75. ln fact, when one clicks upon a link for sample materials for the
materials identified above, a sample PowerPoint slide with the title “Contextual or
Situational Leadership” is the first sample provided.
http://store.readvtomanage.com/Shared/Freeltems/2020kitsamples/2020%20Eff%20
Leadership%203-Contextua|%ZOLeadership%.'ZOPP'l`%ZOSample%20Notes.pdf`

76. The fourth slide of this sample similarly refers to Situational
Leadership® and the fact that the presentation shall include “explore in some detail
the principles of Situational Leadership a tried and proven approach to working
effectively in leading individuals and groups.”

77. Samples of the Participant’s Workbook includes a table of contents that

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identifies the following sections: (l) the three components of Situationa|
Leadership®, (2) levels of performance readiness, (3) the overall Situational
Leadership® model, and (4) applying the Situational Leadership® model,
https://store.readvtomanage.com/Shared/Freeltems/2020kitsamples/2020%20wksh
%ZOLEADERSI-IIP%203%ZOPWB%QOSample.ndf

78. In addition, intermediate headings in the Participant’s Workbook that
do not expressly refer to Leadership Studies’ trademarks indicate the sequence of
subjects in Leadership Studies’ copyrighted Situational Leadership® training
materials. These include (l) identifying the task, (2) follower ability and
willingness, (3) task versus relationship-based behavior, and (4) adjusting leadership
style.

79. Page 3 of the excerpt of the Participant’s Workbook expressly states:

ln this Effective Leadership module we will be looking in detail at a
specific model that has been mentioned in brief in both the prior
modules on leadership in this 20-20 MDS® series. This is the highly
popular and extensively used Situational Leadership® theory
developed originally in Ohio State University and popularised [sic] by
others such as Paul Hersey and Ken Blanchard.

(Emphasis added.) This excerpt fails to state that theory was, in fact, not
“popularized” by Dr. Hersey, but was developed by him and memorialized in
several copyrighted works.

80. Page 4 of the excerpt of the Participant’s Workbook asks participants
“to consider: Any aspects of the leadership process in general and Situational
Leadership® in particular that you would particularly like to learn more about.”

81. Page 5 of the excerpt contains a “bull’s eye” design that includes a
wedge identified as “Situational Leadership®.”

82. Leadership Studies is informed and believes that the remainder of the
Participant’s Workbook contains materials that purport to instruct on Leadership

Studies’ copyrighted “Situational Leadership®” model and/or that imply to

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participants that they are being provided training on Situational Leadership®.

83. Among the other infringing materials marketed and sold on
ReadyToManage’s website are several guides and workbooks that form parts of the
so-called “20-20 MDS” series ostensibly copyrighted by WCOD and published by
the Worldwide Center for Organizational Development, Inc., an entity that does not
appear to exist. In addition, “20-20 MDS” is printed with the “®” symbol
suggesting that it is a registered trademark, but there is no such registered trademark
in the United States, the United Kingdom, or Australia, the three countries where
WCOD purports to operate.

84. The 20-20 MDS materials including, in particular, those including the
“Effective Leadership 2” and “Effective Leadership 3” modules infringe on both
Leadership Studies trademarks and copyrights. Leadership Studies is informed and
believes that the “Effective Leadership 2” and “Effective Leadership 3” materials
including, but not limited to, the leader and participant workbooks, the PowerPoint
presentations, and related materials infringe on Leadership Studies’ trademarks and
copyrights.

85. ln fact, in a scale of plagiarism that would make a high school student
blush, large sections of “Effective Leadership 3” are verbatim copies of portions of,
inter alia, “The Situational Leader” and materials related to the LEAD Instrument
including the “LEAD Feedback on Leadership Style and Instrument Rationale and
Analysis.”

86. Other sections contain such minor modifications or edits, that they
clearly are substantially similar and infringing

87. As an example only among scores, Leadership Studies copyrighted
work, “The Situational Leader,” contains the following language:

For nearly 500 years people have debated whether it’s better for a
leader to have position power or personal power. ln the early 1500$
Niccolo Machiavelli posed that question in his book, The Prince.
l\/lachiavelli was asking whether it’s better for a leader to be feared or

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loved by followers. His answer was that it’s best for a leader to have
both kinds of power.

Dr. Paul Hersey, “The Situational Leader” p.74 (Fourth Pub. 2004).
88. The MDS Materials contain the following language:

For nearly 500 years people have debated whether it’s better for a
leader to have position power or personal power. In the early 1500s
Niccolo Machiavelli posed that question in his book, The Prince.
Machiavelli was asking whether it’s better for a leader to be feared or
loved by followers. Perhaps not surprisingly in light of what we know
from research todav, [h]is answer was that it’s best for a leader to
have both kinds of power.

WCOD “20/20 MDS Effective Leadership 3,” p.82 (with the only “new” language
underlined).

89. ReadyToManage additionally markets and sells materials entitled
“Situational Training®,” and that include materials copyrighted by Leadership
Studies.

90. “Situational Training” is not a registered trademark in the United States
by any entity. To the contrary, the use of the “®” symbol in conjunction with
materials clearly identical to, or derivative of, Leadership Studies’ copyrighted
materials clearly suggests affiliation with, or endorsement by, Leadership Studies.

91. ln fact, page 7 of a set of “Situational Training” materials contains the
following statement: “The Situational Training® model is derived from the original
research in Situational Leadership and uses exactly the same underpinning
dimensions but labels the four quadrants quite differently (as they related to
communication rather than leadership styles.” (Emphasis added.)

92. The overall copyright featured in the footer of each of the pages of the
“Situational Training” materials states “©Worldwide Center for Organizational
Development & Wamer RESULTS Coaching, 2005.”

93. Leadership Studies has never licensed nor otherwise authorized WCOD
or any other Wamer-related entity to create, let alone copyright, any materials

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containing or derivative of Leadership Studies’ copyrighted materials.

94. The “Situational Training” materials also contain diagrams that infringe
on Leadership Studies’ copyrighted materials, The version on page 16 bears its own
purported copyright notice that reads as follows: “©Copyright 2003 WCOD and
Center for Leadership Studies. All Rights Reserved.”

95. Leadership Studies has never co-copyrighted any materials with
WCOD, and has never authorized WCOD to create, let alone copyright, materials
clearly derivative of Leadership Studies’ copyrighted diagrams and figures,

96. Specifically, Leadership Studies never coauthored, or co-copyrighted,
the diagram that appears on page 16 of the “Situational Training” materials available
on ReadyToManage’s website.

97. For purposes of clarity, Leadership Studies has never licensed or
otherwise authorized (a) WCOD or any other Wamer-affiliated entity to create or
copyright “Situational Training” materials that infringe Leadership Studies’
copyrights, (b) WCOD to co-copyright any materials with Leadership Studies, or (c)
ReadyToManage to market, sell, or publish such infringing materials.

98. The ReadyToManage website also markets and sells no less than nine
(9) “trainerjob aids” that infringe upon Leadership Studies’ Marks and copyrights.

99. The ReadyToManage website has a program defined variously as its
“Problem Solving and Decision Making Style Inventory” and “Situational Problem
Solving Style” located at http://store.readvtomanage.com/store/p/ZlG-Situational-
Problem-Solving-Stvle-On|ine.aspx. ln connection with this “lnventory”
ReadyToManage provides a sample report that infringes on Leadership Studies’
trademarks and copyrights at http://www.profiles-r-us.com/samples/SAF-PSI.Ddf
that is hosted on the Profiles-R-Us website.

100. In addition, the cover image of the “Problem Solving and Decision
Making Style Inventory” at the above link contains the Quadrant Mark and shows
that it is purportedly copyrighted by “Center for Leadership Studies & Worldwide

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Center for Organizational Development.” Leadership Studies has not copyrighted
any materials jointly with WCOD, has not authorized WCOD to copyright any
materials on its behalf, and has not authorized WCOD to create any materials
derivative of materials copyrighted by WCOD.

101. ReadyToManage’s website also states that the “Problem Solving and
Decision Making Style lnventory” was authored by “Dr Walt NateMeyer [sic] and
Dr J on Wamer.”

102. Leadership Studies is informed and believes that the so-called
“Problem Solving and Decision Making Style lnventory” marketed and sold on the
ReadyToManage website is a document authored by Dr. Hersey and Dr. Walt
Natemeyer, and that ReadyToManage replaced Dr. Hersey’s name with that of Dr.
Jon Warner when, in fact, the “Problem Solving and Decision Making Style
Inventory” is virtually identical to, and/or a substantially similar derivative of, the
original authored by Dr. Hersey.

103. Leadership Studies has not authorized WCOD, ReadyToManage,
Profiles-R-Us, or any other person or entity affiliated with them to prepare, market,
or sell any materials such as “Problem Solving and Decision Making Style
Inventory ” bearing its Marks, its name, or other purported endorsement, let alone
one that infringes on Leadership Studies’ copyrights

104. The ReadyToManage website also markets and sells a “Meeting
Effectiveness Inventory” at http://store.readvtomanage.com/store/p/195-Meeting-
Effectiveness-Inventory-Online.aspx ostensibly available through Profiles-R-Us.
The face page of the materials as shown on the website contains Leadership Studies
Quadrant Mark and states that it is “© Center for Leadership Studies and ACLS,”
but also states that its “publisher” is WCOD and that the “author” is Warner,

105. Leadership Studies is informed and believes that “ACLS” refers to the
Australian Center for Leadership Studies that was an affiliate of CLS.

106. However, Leadership Studies is the copyright holder of a document

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entitled MEI Reports generated based on users’ completion of the inventory.

107. Leadership Studies has never authorized or licensed ReadyToManage
Profiles-R-Us, WCOD, or Warner to publish, market, or sell the “Meeting
Effectiveness Inventory” that appears on ReadyToManage’s website.

108. In addition, Leadership Studies has not authorized ReadtyToManage,
Profiles-R-Us, WCOD, or Wamer to publish, market, or sell a “Meeting
Effectiveness Inventory” that bears the Quadrant Mark or that bears a copyright
attributed to the Center for Leadership Studies, although Leadership Studies is
informed and believes that the materials therein infringe on its copyrights.

109. Similarly, Leadership Studies has not authorized Wamer to attribute his
authorship to any materials copyrighted by Leadership Studies including, but not
limited to, Leadership Studies’ MEI Reports

110. The “sample report” provided in connection with the “Meeting
Effectiveness Inventory” infringes upon Leadership Studies’ copyrights and is
available at http://www.profi|es-r-us.com/Samples/SAF-MEI.pdf , a website that
Plaintiff is informed and believes is affiliated with Profiles-R-Us.

lll. Leadership Studies is informed and believes that the “Meeting
Effectiveness Inventory” available on the Ready~To-Manage website likewise
infringes upon Leadership Studies’ copyrighted MEI Reports.

112. The “Meeting Effectiveness lnventory” is marketed and sold in
conjunction with other “Meeting Effectiveness” materials and programs on the
ReadyToManage website such that for the “20/20 MDS Effective Meetings”
program which states, “[i]t is recommended that participants also undertake the
Meeting Effectiveness Profile as a part of this module.” See
http://store.readvtomanage.com/2020MDS-Workshop-Kit-Effective-Meetings.aspx
(“This workshop kit has a linked assessment, the Meeting Effectiveness Inventory
which can be found in the webstore. lt is recommended that you consider including

the assessment as part of the participant preparation for the course. It is not

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required, but some of the content in the Workshop Presentation PowerPoint refers to
the assessment and the dimensions measured in it.”).

113. The ReadyToManage website also markets and sells other “diagnostic
assessments and profiles,” primarily available through Profiles-R-Us that infringe on
Leadership Studies Marks and infringe directly upon, or are derivative of,
Leadership Studies’ copyrights

114. In fact, in or about 2007, Leadership Studies contacted Jon Warner and
WCOD, who was then marketing these same infringing profiles from Profiles-R-Us,
and demanded that they be removed. Although WCOD appeared to comply with
Leadership Studies’ demand, these same materials are now, again, available through
Profiles-R-Us’ and ReadyToManage’s websites

115. Profiles-R-Us’ website includes numerous materials that infringe upon
Leadership Studies’ Marks and copyrights For example, it includes numerous
“sample reports” of its profiles such as the one entitled “Situational
Communication® Ster Assessment (SCA) - Self Report” located at
http://www.profiles-r-us.com/samples/SAF-SCA.pdf . This report refers directly to
“Situational Leadership®” and lifts materials directly from Leadership Studies’
copyrighted materials

116. ln fact, although the profile referred to in paragraph 115 above,
purports to refer to “Situational Communication®,” Situational Communication is
the trademark of a Canadian entity owned by an author whose book, “Situational
Communication” - that is out-of-print - contains none of the analysis in the
Profiles-R-Us’ profile. To the contrary, the materials in the “Situational
Communication” profile infringe upon Leadership Studies’ intellectual property.

117. Other infringing profiles on the Profiles-R-Us website include those
entitled “Situational Instruments - Problem-solving and Decision Making Style,”
“Situational Instruments - Meetings Effectiveness” “Situational lnstruments -

Presentation Style Assessment,” and “Situational Instruments - Interviewing Style

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Assessment,”

118. A page on the ReadyToManage site that markets the profiles
purportedly provided by WCOD and Team Publications through Profiles-R-Us
states “Assessments that help to measure a particular task or situation (and how a
particular individual handles it). Instruments which take a ‘Situational’ perspective
generally use a four quadrant grid format to help an individual to determine which
style he or she seems to favor the most in a given situation. Once known the person
can access how readily he or she may be able to ‘flex’ into the available styles in
order to match the different circumstances or ‘Situations’ that may be encountered
on a day to day basis.” http://store.readvtomanage.com/store/p/ 171-Decision-
Making-Style-Mini-Profile-Online.asnx.

119. Leadership Studies is informed and believes that each of these
assessments and the reports prepared for users infringes directly upon Leadership
Studies’ copyrighted materials and/or is derivative thereof such that there is
substantial similarity between those materials and Leadership Studies’ copyrighted
materials

120. ReadyToManage also maintains a blog written by Warner that contains
entries that infringe upon Leadership Studies’ Marks and copyrighted materials For
example, the blog entry at http://blog.readvtomanage.com/coaching-stvles/ entitled
“Coaching Styles,” concerns the “Situational Coaching model” and consists largely
of Leadership Studies’ copyrighted materials including materials on Situational
Coaching® copyrighted by Leadership Studies in 2007,

121. Toward the end of each of the ReadyToManage blog entries, readers
are referred to purchase related materials through links on the ReadyToManage
website; accordingly, the blog entries not only infringe upon Leadership Studies’
intellectual property, but also are used to market materials available for sale on
ReadyToManage’s website.

122. The foregoing is not an all-inclusive list of all of the materials that are

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sold, and have been sold, on ReadyToManage’s website or on the Profiles-R-Us
website. Although Leadership Studies has obtained copies of many infringing
materials, it has not been able to view all of those available from Defendants, but is
informed and believes that numerous other materials on these websites similarly
infringe upon its Marks and copyrights based on the descriptions of the materials
and/or the fact that they relate to and/or accompany materials known to infringe on
Leadership Studies’ intellectual property.
FIRST CAUSE OF ACTION

(Trademark lnfringement under the Lanham Act § 32(1)(a), 15 U.S.C.A. §
lll4(l)(a) Against All Defendants)

123. Leadership Studies hereby repeats and incorporates by this reference
the allegations contained in all preceding paragraphs inclusive, as though set forth
here in ful|.

124. The Marks, as referenced above, are all duly registered trademarks with
the United States Patent and Trademark Office.

125. Defendants have no license or other authorization from Leadership
Studies to use any of the Marks

126. Defendants are using the Marks in connection with the sale, offering
for sale, distribution, and advertising of training materials that they offer for sale,
and that are related, and similar, or even virtually identical, to those provided by
Leadership Studies

127. These uses by Defendants are likely to cause confusion, or to cause
mistake, or to deceive the public as a result of the overall similarity of the marks in
sound, appearance and meaning.

128. ln addition, Defendants use and have used derivative marks in
connection with goods or services which are both competitive with and related to
Leadership Studies’ goods and services These derivative marks are ones

incorporating the term “Situational” and purport to be affiliated with, or derivative

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of, “Situational Leadership.”

129. Defendants’ uses of the derivative marks infringe on Leadership
Studies’ Marks in violation of the Section 32(1)(a) of the Lanham Act, 15 U.S.C.A.
§1114(1)(a).

130. Defendants’ uses of the Marks and derivative marks have been done
willfully and in bad faith, with knowledge that these uses are intended to cause
confusion, or to cause mistake, or to deceive.

131. These uses have been done deceptively and fraudulently because, based
on prior requests that WCOD, Profiles-R-Us, and Wamer cease and desist
marketing infringing materials that contain Leadership Studies’ trademarks,
Defendants purported to comply and then surreptitiously continued to offer the same
materials using different websites and URLs

132. Defendants’ uses of the Marks and derivative marks are likely to cause
confusion, or to cause mistake, or to deceive the public. ln fact, Leadership Studies
is aware of actual confusion by the public with regard to Defendants’ products and
services

133. Leadership Studies seeks statutory damages for Defendants’ use of the
Marks and derivative marks because they infringe upon Leadership Studies’
trademarks

134. Leadership Studies seeks actual damages in any amount up to three (3)
times Plaintiffs actual damages and Defendants’ profits in connection with their
uses of the infringing marks

135. Leadership Studies seeks an Order impounding all materials that bear
the infringing marks under such terms as the Court deems just.

136. Leadership Studies seeks preliminary and permanent injunctive relief to
bar Defendants from using the Marks and derivative marks
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SECOND CAUSE QF ACTION
(Copyright Infringement Against Defendants)

137. Leadership Studies hereby repeats and incorporates by this reference
the allegations contained in all preceding paragraphs inclusive, as though set forth
here in full.

138. Leadership Studies remains the sole proprietor of all rights, title, and
interest in and to many published and unpublished work including, but not limited
to, the LEAD Work, the MEl Reports the “Situational Leadership Leader’s
Guides,” “The Situational Leader,” “Situational Selling,” the materials copyrighted
by Situational Leadership in MOB, “The Core,” “Problem-Solving Decision-
Making Ster Inventories,” and all later and derivative versions of these works
including, but not limited to, the original designs figures, and diagrams contained
therein.

139. Defendants have willfully infringed upon Leadership Studies’
copyrights in the above materials, and others by publishing, marketing, and selling
works without a license, that copy original elements of these works including,
specifically, the original designs figures, and diagrams contained therein.

140. Defendants have copied, verbatim, and with minor modifications the
whole or portions of Leadership Studies’ copyrighted works as described above,
leaving no doubt that the copied material is substantially similar, large portions of
many of these works

141. Defendants do not have any license, permission, or other right to use
any portions of Leadership Studies’ works

142. Leadership Studies has been damaged by Defendants’ unauthorized
infringement upon Leadership Studies’ copyrights and their elements

143. Leadership Studies will ask this Court for a preliminary and permanent
injunction prohibiting Defendants from marketing and selling materials that infringe

upon Leadership Studies’ copyrights pursuant to 17 U.S.C. §502.

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144. Leadership Studies will ask this Court for an Order impounding and
providing for the disposition or destruction of all of Defendants’ materials that
infringe upon Leadership Studies’ copyrights pursuant to l7 U.S.C. §503.

THIRD CAUSE OF ACTION

(Unfair Competition Against All Defendants)

145. Leadership Studies hereby repeats and incorporates by this reference
the allegations contained in all preceding Paragraphs, inclusive, as though set forth
here in full.

146. Califomia’s UCL provides a cause of action for business practices that
are (l) unlawfiil, (2) unfair, or (3) fraudulent Cal. Bus. & Prof. Code §§ 17200, et
seq. (the “UCL”).

147. In addition, the UCL prohibits false and misleading advertising Cal.
Bus. & Prof. Code §§ 17500, et seq.

148. Defendants’ actions as described herein, are and have been both
“unlawful” and “unfair” as proscribed by Califomia’s UCL.

149. Specifically, Defendants’ actions in connection with their use of the
Marks and derivative marks are unlawful because they violate Leadership Studies’
rights under Federal trademark law as described above.

150. In addition, Defendants’ actions in connection with their use of the
Marks and derivative marks have been unfair and have been deceptive to both
Leadership Studies and the public consumers of Defendants’ and Leadership
Studies’ products and have caused Leadership Studies competitive harm.

151. Defendants’ uses of the Marks and derivative marks also are false and
misleading advertising because they inform the public that these marks are affiliated
with, and related to, “Situational Leadership®.”

152. Leadership Studies has been damaged by Defendants’ violations of
Califomia’s UCL, and is entitled to its damages and attorney fees resulting

therefrom.

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153. Defendants’ actions have been unscrupulous because they have
purported to comply with demands that they cease and desist from infringing on
Leadership Studies’ Marks but then proceeded, after an uncertain period of time, to
again market and sell the infringing products

154. Leadership Studies will ask this Court for a preliminary and permanent
injunction prohibiting Defendants from marketing and selling materials that infringe
upon Leadership Studies’ Marks

FOURTH CAUSE OF ACTION
(Accounting Against All Defendants)

155. Leadership Studies hereby repeats and incorporates by this reference
the allegations contained in all preceding paragraphs inclusive, as though set forth
here in full.

156. The amount of money owed to Leadership Studies by Defendants, and
each of them, arising out of both the materials that infringe upon Leadership
Studies’ trademarks and copyrights is unknown to Leadership Studies and cannot
be ascertained without an accounting of Defendants’ respective financial affairs
Therefore, Leadership Studies asks that the Court decree that Defendants, and each
of them, account to Leadership Studies for all property and profits owed to it both in
connection with prior infringing and currently infringing materials that are, or have
been, published, marketed, and/or sold by Defendants

FIFTH CAUSE OF ACTION
(Declaratory Relief Against All Defendants)

157. Leadership Studies hereby repeats and incorporates by this reference
the allegations contained in all preceding paragraphs inclusive, as though set forth
here in fu|l.

158. An actual controversy has arisen between Defendants and Leadership
Studies concerning Defendants’ publishing, marketing, and selling of materials that

infringe on Leadership Studies’ Marks and copyrighted materials

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l 159. Leadership Studies asserts that all uses of the Marks and derivative
2 marks by Defendants violate Leadership Studies’ registered trademark rights
3 160. Leadership Studies asserts that all uses of its copyrighted materials by
4 Defendants violate Leadership Studies’ copyright rights
5 161. A judicial declaration of the respective parties’ legal rights and duties is
6 necessary. In the absence of such a decree, Leadership Studies will suffer
7 irreparable injury due to Defendants’ ongoing infringement of its Marks and
8 copyrights
9 162. Therefore, Leadership Studies seeks a decree declaring that:
10 (a) The Materials prepared, published, marketed, and/or sold
ll by Defendants, or any of them, and identified by Plaintiff that include any or all of
12 Plaintiff’s Marks infringe upon Plaintiff’ s Marks.
13 (b) The Materials prepared, published, marketed, and/or sold
14 by Defendants, or any of them, and identified by Plaintiff’s that infringe on
15 Plaintiff"s copyrights
16 WHEREFORE, Plaintiff Prays for Judgment As Follows:
17 ON ALL CAUSES OF ACTlON
18 1. For general and special compensatory damages according to proof;
19 2. For costs of suit and reasonable attorney’s fees incurred herein;
20 3. For prejudgment interest at the legal rate; and
21 4. For such other and further relief, including equitable relief, as the court
22 may deem just and proper.
23 ON THE FIRST CAUSE OF ACTION
24 5. For statutory damages according to proof;
25 6. For Leadership Studies’ actual damages in any amount up to three (3)
26 times Plaintiff"s actual damages and Defendants’ profits in connection with their
27 uses of the infringing marks;
28 7. For an Order impounding all materials that bear the infringing marks
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COMPLAINT

 

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under such terms as the Court deems just; and

8. For preliminary and permanent injunctive relief to bar Defendants from
using the Marks and derivative marks;

9. For Plaintiff"s attorney fees and costs of suit.

ON THE SECOND CAUSE OF ACTION

163. For preliminary and permanent injunctive relief to prevent or restrain
the infringement of the LEAD Work, the MEI Reports the “Situational Leadership
Leader’s Guides,” “The Situational Leader,” “Situational Selling,” the materials
copyrighted by Situational Leadership in MOB, “The Core,” “Problem-Solving
Decision-Making Style Inventories,” and all later and derivative versions of these
works including, but not limited to, the original designs figures, and diagrams
contained therein and any other works on which Leadership Studies is the copyright
holder;

164. For an order impounding the publications infringing on “the LEAD
Work, the MEI Reports the “Situational Leadership Leader’s Guides,” “The
Situational Leader,” “Situational Selling,” the materials copyrighted by Situatidnal
Leadership in MOB, “The Core,” “Problem-Solving Decision-Making Style
Inventories,” and all later and derivative versions of these works including, but not
limited to, the original designs figures, and diagrams contained therein, and any
other of Defendants’ works found to be infringing Leadership Studies’ copyrighted
publications, under such terms as the Court findsjust;

10. For Leadership Studies’ actual damages and Defendants’ profits
according to proof;

1 l. For an award of statutory damages for all infringements involved in the
action, with respect to the above works for which any one Defendant is liable
individually, or for which any two or more Defendants are liable jointly and
severally, in a sum of between $750 and $30,000 per work pursuant to 17 U.S.C.
§504(¢)(1);

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COMPLAINT

 

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12. For an award of statutory damages for all willful infringements
involved in this action of 8150,000 for each infringement pursuant to 17 U.S.C.
§504(€)(2);

13. For a preliminary and permanent injunction prohibiting Defendants
from producing, publishing, marketing, selling, or otherwise using any materials that
infringe upon Plaintiff’s copyrights

14. For an Order to impound and dispose or destroy all materials in
Defendants’ possession, custody, or control that infringe upon Plaintiff`s copyrights;

15. For Plaintiff s attorney fees and costs pursuant to 17 U.S.C. §505;

ON THE THIRD CAUSE OF ACTION

16. For a preliminary and permanent injunction prohibiting Defendants

from marketing and selling materials that infringe upon Leadership Studies’ Marks
and copyrights
ON THE FOURTH CAUSE OF ACTION
17. For a decree that Defendants, and each of them, account to Leadership
Studies for all property and profits owed to it; l
ON THE FlFTH CAUSE OF ACTlON
18. For a declaration that:

(a) The Materials prepared, published, marketed, and/or sold
by Defendants, or any of them, and identified by Plaintiffs’ that include any or all of
Plaintiffs’ Marks infringe upon Plaintiffs’ Marks
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COMPLAINT

 

 

 

 

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1 (b) The Materials prepared, published, marketed, and/or sold
2 by Defendants, or any of them, and identified by Plaintiffs’ that infringe on
3 Plaintiffs’ copyrights
4
5 Respectfully submitted:
6 Dated: December 8, 2015 ZUBER LAWLER & DEL DUCA LLP
7
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9 Michele M. Desoer
10 Jeffrey J. Zuber
ll
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13 By: /s/ Michele M. Desoer
14 eltctomeys for Plaintiff Leadership Stuides,
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